              Case 2:23-cr-00178-RAJ Document 29 Filed 01/24/24 Page 1 of 3




 1                                                                        The Hon. Richard A. Jones
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                                 NO. CR23-178-RAJ
11                          Plaintiff,
12                     v.                                      NOTICE OF APPEARANCE

13   BINANCE HOLDINGS LIMITED, d/b/a
     BINANCE.COM,
14
                            Defendant.
15
16
17          PLEASE TAKE NOTICE that Assistant United States Attorney (“AUSA”)

18 Karyn S. Johnson hereby appears on behalf of the United States, for the specific purpose
19 of litigating the forfeiture aspects of this case. Going forward, please serve copies of all
20 pleadings, court documents, and correspondence on AUSA Johnson at:
21
                                             KARYN S. JOHNSON
22                                           Assistant United States Attorney
23                                           United States Attorney’s Office
                                             700 Stewart Street, Suite 5220
24                                           Seattle, Washington 98101
                                             Phone: (206) 553-2462
25
                                             Fax: (206) 553-6934
26                                           Karyn.S.Johnson@usdoj.gov
27
     Notice of Appearance - 1                                                UNITED STATES ATTORNEY
     United States v. Binance Holdings Limited, CR23-178-RAJ                700 STEWART STREET, SUITE 5220
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
              Case 2:23-cr-00178-RAJ Document 29 Filed 01/24/24 Page 2 of 3




 1          DATED this 24th day of January, 2024.
 2
                                                     Respectfully submitted,
 3                                                   TESSA M. GORMAN
 4                                                   United States Attorney

 5
                                                      s/ Karyn S. Johnson
 6                                                   KARYN S. JOHNSON
                                                     Assistant United States Attorney
 7
                                                     United States Attorney’s Office
 8                                                   700 Stewart Street, Suite 5220
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     Notice of Appearance - 2                                                  UNITED STATES ATTORNEY
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                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
              Case 2:23-cr-00178-RAJ Document 29 Filed 01/24/24 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2
 3          I hereby certify that on January 24, 2024, I electronically filed the foregoing with
 4 the Clerk of the Court using the CM/ECF system, which sends notice of the filing to all
 5 ECF participants of record.
 6
 7
                                                      s/ Chantelle Smith
 8                                                   CHANTELLE SMITH
 9                                                   FSA Supervisory Paralegal, Contractor
                                                     United States Attorney’s Office
10                                                   700 Stewart Street, Suite 5220
                                                     Seattle, Washington 98101
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                                                     Phone: 206-553-2242
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     Notice of Appearance - 3                                              UNITED STATES ATTORNEY
     United States v. Binance Holdings Limited, CR23-178-RAJ              700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
